                 Case 2:14-cr-00134-WFN                        ECF No. 411           filed 03/29/16         PageID.1676 Page 1 of 6
Y(
                                                                                                                                       FILED IN THE
                                                                                                                                   U.S. DISTRICT COURT
      qAO 2458      (Rev. 09/11) Judgment in a Criminal Case                                                                 EASTERN DISTRICT OF WASHINGTON
                    Sheet I   Revised bv WAED -02116

                                                                                                                              Mar 29, 2016
                                                   UNtrsn Srarss Dtsrrucr CoURT                                                   SEAN F. MCAVOY, CLERK

                                                    Eastern District of Washington
                UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                    v.
                                                                               CaseNumber: 2:14CR00134-WTN-3
                   JOSEPH WILLIAM GILLESPIE
                                                                               USM Number: 17710-085
                               ak/aChico
                                                                                     Robert R. Cossey
                                                                               Defendant's Attomey




      E
      THE DEFENDANT:

      f,pleadea guilty to count(s) I of the Superseding Indictment
      E pleaded nolo contendere to count(s)
         which was accepted by the court.
      ! was found guilty on count(s)
         after a plea of not guilty.

      The defendant is adjudicated guilty ofthese offenses:

      Title & Section                    Nature of Offense                                                                   Offense Ended        Count
     2l U.S.C. $$ 8aS(e)(l)(A) Murder in Connection with Conspiracy to Distribute 500 Grams of More of                           03tOyt4            IS
        and 18 U.S.C. $ 2                Methamphetamine




             The defendant is sentenced as provided in pages 2 through                            of this judgment. The sentonce is imposed pursuant to
      the Sentencing Reform Act of 1984.

      E ttre defendant has been found not guilty on count(s)
      dCount(s) 2 of the Superseding Indictment /is                        n are dismissed on the motion of the United States.
                It is ordered that the defendant mrst notifo theUnited States attomey forthis district within 30 d4y9-of any qhaoge of name, residence,
      or rnailins address until all fines. restitution.costs.'and special assessments irirposed by this judgrnent aretully pald. ltordered to pay resututlon'
      the defen-dant must notifu the co-urt and Uniled States attorney of material changes in economic circumstances.

                                                                   3/23/2016



                                                                                       / fl"-f*
                                                                 Date of Imposition of Judgment




                                                                 Signature ofJudge




                                                                 The Hon. Wm. FremmingNielsen                Senior Judge, U.S. District Court
                                                                  Name and Title of Judge


                                                                                        3/z',
               Case 2:14-cr-00134-WFN                ECF No. 411            filed 03/29/16        PageID.1677 Page 2 of 6

AO   2458 (Rev. 09/l l) Judgment in Criminal Case
          Sheet 2
                  - Imprisonment
                                                                                                      Judgment       Page
                                                                                                                 -
DEFENDANT: IOSBpU yLLIAM GILLESPIE
CASE NUMBER: 2:14CR00134-WFN-3


                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 240 Months

      With credit for all time served from date of arrest on March 6,2014, and to be served CONCURRENT to the sentence imposed ia
 Spokane Superior Court Case No. 14-1-01090-8.




     {    ft"court makes the following recommendations to the Bureau of Prisons:

       That Defendant be allowed to participate in the 500 hour residentioal drug treafrnent program as well as be desigaated to the El
 Reno, Oklahoma facility.



     d    lr"defendant is remanded to the custody of the United States Marshal.

     n    The defendant shall surrender to the United States Marshal for this district:

          trat                                      tr a.m. E p.-.           on

          tr    as notified by the United States Marshal.


     tr The defendant shall surrender for service ofsentence at the institution desigrrated by the Bureau ofPrisons:
        n before 2 p.m. on
          n     as notified by the United States Marshal.

          tr    as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on

at                                                      with a certified copy ofthis judgment.



                                                                                                    I.JNITED STATES MARSTIAL



                                                                            By
                                                                                                 DEPUry UNITED STATES MARSHAL
              Case 2:14-cr-00134-WFN                           ECF No. 411           filed 03/29/16         PageID.1678 Page 3 of 6


AO 2458        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3       Supervised Release
                         -
                                                                                                                   Judgment-Page
                                                                                                                                      3     of
DEFENDANT: JOSEPH WILLIAM GILLESPIE
CASE NUMBER: 2:14CR00134-WFN-3
                                                                  SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for aterm of:                         Life



             The defendant n                      to the probation office in the district to which the defendant is released withinT2 hours of releasefrom the
custody of the Bureau
                                "#ifri"rlJn
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfullv possess a controlled substance. The defendant shall refrain from anv unlawful use of a controlled
substance. The defendant shall sdbinit to one drug test within 15 days of release from imprisonment anil at least two periodic drug tests
thereafter, as determined by the court.

tr        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Chech if applicable.)

d         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

V         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if appticable)

        defendant shall complv with the reouirements of the Sex Offender Resistration and Notification Act (42 U.S.C. $ 1690 I , el seq.\'
LJ The
   as directed by the probatioh officer, the Bureau of Prisons, or any state sex-offender registration agency iri which he or she resides,'
          works, is a student, or was convictdd of a qualifying offen3e. (ihech if appticable.)

D         The defendant shall participate in an approved program for domestic violence. (Check, ifappticable.)
        If this iudgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Pajme-nts sheetbf this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                                  STANDARD CONDITIONS OF SUPERVISION
     l) the defendant shall not leave the judicial dishict without the permission of the court or probation officer;
     2) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation offtcer;
     3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4) the defendant shall support his or her dependents and meet other family responsibilities;
     5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, haining, or other
           acceptable reasons;
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use ofalcohol;
     8) the defendant shall not purchase, possess, use, distribute or administer any controlled substance or paraphernalia related to
           any controlled susbstances, except as prescribed by a physician. Use, acquisition, or possession of marijuana with or without a
           physician's prescription is prohibited;

  9) the defendant shall not fiequent places where conholled substances are illegally sold, used, dishibuted, or administered;
 l0)' the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
      felony, unless granted permission to do Joby the pro6afion officer;
 I   l)    the defend4nt shall permit a probatio4 offrcer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 12) the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 13)
  ' the  defendant-shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the court; and

 l4)' as directedperional'historv
                  bv the orobation officer- the defendant shall notifu third oartiesofrisks that may be occasioned by the defendant's criminal
      record or                   or charaiteristics and shall nermit ihe orobation officer to make such notificationi and to confirmthe
            defendants s compliance ivith such notifi cation requirernent.
           Case 2:14-cr-00134-WFN                      ECF No. 411    filed 03/29/16         PageID.1679 Page 4 of 6
AO   2458 (Rev. 09/l l) Judgnent in a Criminal Case
              Sheet 3C       Supervised Release
                         -
                                                                                                    Judgment-Page
DEFENDANT: IOSBpH wrLLrAM GILLESpTE
CASE NUMBER: 2:14CR00134-WFN-3

                                                  SPECIAL CONDITIONS OF SUPERVISION
 15) You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis testing (which may include urinalysis
 or sweat patch), as directed by the supervising officer, but no more tlan 6 tests per month, in order to confirm continued abstinence
 from these substances.

 16) You shall abstain from alcohol and shall submit to testing (including urinalysis and Breathalyzer) as directed by the supervising
 officer, but no more than 6 tests per month, in order to confirm continued abstinence from this substance.

 I 7) You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treaffnent program, which could include inpatient treatment and aftercare. You
 shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal disclosure between the
 supervising officer and treatment provider.

 l8) You shall not enter into or remain in any establishment where alcohol is the primary item of sale.
 19) You shall submit your person, residence, office, or vehicle to a search, conducted by a probation officer, at a sensible time and
 manner, based upon reasonable suspicion ofcontraband or evidence ofviolation ofa condition ofsupervision. Failure to submit to
 search may be grounds for revocation. You shall wam persons with whom you share a residence that the premises may be subject to
 search.
            Case 2:14-cr-00134-WFN                    ECF No. 411          filed 03/29/16         PageID.1680 Page 5 of 6
AO   2458 (Rev. 09i 1l) Judgment in a Criminal Case
          Sheet 5
                  - Criminal Monetary Penalties
                                                                                                     Judgment       Page         of
                                                                                                                -
DEFENDANT: lOSBpn ryLLTAM GILLESpTE
CASE NUMBER: 2:14CR00134-WIN-3
                                                CRIMINAL MONETARY PENALTMS
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                     Fine                                 Restitution
TOTALS                  s100.00                                        s0.00



d     fn"determinationofrestitutionisdeferred wfiil 6t22/2ot6An Amended Judgment in a Criminal Case(AO24sC) will be entered
      aft er such determination


tr The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a oartial Davment. each oavee shall receive an aooroximatelv orooortioned oavment. unless specified otherwise in
      the priority order or percbntage irayment colunin below. However, pulduant to t 8U.S.C. $ 3664c),'all noirfederal victims must be paid
      befrire the-United Stdtes is p#d.' "

Name of Payee                                                           Total Loss*         Restitution Ordered Priority or Percentage




TOTALS                                                        0.00                                  0.00



n       Restitution amount ordered pursuant to plea agreement $

n       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to l8 U.S.C. $ 3612(0. All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to l8 U.S.C. g 3612(g).

tr      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        I the interest requirement is waived for the I fine ! restitution.
        E ttre interest requirement for the n fine ! restitution is modified as follows:

* Findings forthe total anDunt of losses are required underChapters 109A, 110, I l0A, and I l3A of Title l8 for offenses committed on or after
Septemb"er 13,1994, but before April23,1996.
             Case 2:14-cr-00134-WFN                   ECF No. 411           filed 03/29/16         PageID.1681 Page 6 of 6
AO   2458 (Rev. 09/l l) Judgment in a Criminal Case
          Sheet 6
                  - Schedule of Payments
                                                                                                           Judgment- Page
DEFENDANT: IosspH ryILLIAM GILLESPIE
CASE NUMBER: 2:14CR00134-WFN-3


                                                      SCIIEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A tr Lumpsumpaymentof$                                         due immediately, balance due


             n      not laterthan                                  ,of
             tr in accordance n C, n D, tr                    or fl F below; or
                                                                     E,

Bd           Payment to begin immediately (may be combined with E C,     ! D, or ffi belowl; or
Ctr          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of    $                    over a period of
                          (e.g., months or years), to   commence               (e.g., 30 or 60 days) after the dato of this judgment; or

D n Payment in equal                                (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                             (e.g., months or years), tocommence                -
                                                                                  (e.g., 30 or 60 days) after release from imprisonment to a
             term ofsupervision; or

        t]   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

        (    Special instructions regarding the payment of criminal monetary penalties:


        Defendant shall participate in the BOP Inmate Financial Responsibility Program. Duriag the time of incarceration, monetary
        penalties are payable on a quarterly basis ofnot less than $25.00 per quarter.

        While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or l0% of the
        Defendant's net household income, whichever is larger, commencing 30 days after the Defendant is released from imprisonment.



Unless the court has expresslv ordered otherwise. if this iudsmentimoosesimorisonmer               vment of criminal monetarypenalties is due
durins imprisonment. All criminal monetarv oenalties. dxc5ot those'oavmenis made tl                n the Federal Bureau of Pris6ns' Inmate Financial
ResoS'nsitiiliw Prosram. are made to the folloivins addiess uhtil monelaiv nenalties are           in full: Clerk, U.S. District Court, Attention:
Findnce, P.O. Box-I493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

n       Jointand Several

        Case Numbers (including defendant number) and Defendant and Co-Defendant Names, Total Amount, Joint and Several Amount,
        and corresponding payee, if appropriate.




tr      The defendant shall pay the cost ofprosecution.

tr      The defendant shall pay the following court cost(s):

tr      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5f fine interest, (6)'cbmmunity restitution', (7) perialties, and (8)'cbdts, includin! cost bf prosecution and court costs.
